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 From:            DEH (JWPT)
 To:              Lowell, Abbe; LJW (JWPT)
 Cc:              bdalton@                 Kolansky, David A.; Oishi, Bella
 Subject:         RE: Delaware Schedule
 Date:            Monday, September 16, 2024 2:00:19 PM




 Abbe,

 We oppose. We don’t think a continuance is appropriate.

 Derek.

 Derek E. Hines
 Senior Assistant Special Counsel
 U.S. Department of Justice



 From: Lowell, Abbe
 Sent: Friday, September 13, 2024 12:02 PM
 To: LJW (JWPT)                   ; DEH (JWPT)
 Cc: bdalton@                  Kolansky, David A.                               ; Oishi, Bella

 Subject: [EXTERNAL] Delaware Schedule

 Counsel:

 I am writing to see if we can reschedule the Delaware sentencing date for either the end of November
 or in December (depending on your Smirnov case and the Court’s calendar). We have a variety of
 pre-sentencing tasks that now need time to be completed for both Delaware and California that
 overlap. It would be good for us to coordinate those to avoid duplication (e.g., updating financial
 reports, interviews with our client and his family). In addition, several people who we are asking to
 submit letters to the Courts as part of sentencing memoranda are short of time because they are
 involved in government work and travel or the presidential campaign. When we get those letters, we
 need to incorporate them into our memoranda. If there will be any live testimony at the sentencing
 hearing, some of these same individuals may likely not be available depending on any post-
 November 5 events.   In addition, I have both foreign travel for meetings with clients and possibly
 prosecutors in other cases and will be out for various holidays throughout October. There are
 deadlines and court appearances in a number of civil cases for Mr. Biden and other clients between
 now and through November 12. These include discovery requests and responses, initial disclosures,
 four or more depositions in the remainder of September, a deposition which may have to be taken
 abroad in October, and preparation for and attendance at two court conferences, including a pre-trial
 conference in one of Mr. Biden’s cases on 11/12 in California (making it impossible for me to get back
 to DE in time for the sentencing the following day), and preparation for a trial beginning in December.
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 The brief postponement we seek would not be a long one, and it is the first request. Please let us
 know your position on this so we can hopefully work out a mutually agreeable date.

 Thank you for the consideration,

 Abbe

 Abbe David Lowell
 Partner
 Co-Chair, Government Investigations,
 Enforcement, and Compliance
 Winston & Strawn LLP
 1901 L Street, N.W.
 Washington, DC 20036
 D:
 F:

 200 Park Avenue
 New York, NY 10166-4193
 D:
 F:
 VCard | Email | winston.com




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